Case 4:20-cv-13322-MFL-EAS ECF No. 13, PageID.136 Filed 11/23/21 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

WILLIAM HUDSON,

       Plaintiff,                                  Case No. 20-cv-13322
                                                   Hon. Matthew F. Leitman
v.

BOOKS-A-MILLION, INC.,

     Defendant.
__________________________________________________________________/

                    ORDER RESOLVING DEFENDANT’S
                     MOTION TO COMPEL (ECF No. 8)

       On September 14, 2021, Defendants Books-A-Million, Inc. filed a motion to

compel discovery and for other relief. (See Mot., ECF No. 8.) The motion had three

components. First, Books-A-Million asked the Court to compel Plaintiff William

Hudson to respond to certain outstanding discovery requests. (See id., PageID.67.)

Second, Books-A-Million asked the Court to order either that (1) Hudson’s

deposition be taken via Zoom with Hudson and all counsel appearing from separate

locations or (2) Hudson’s deposition be taken in person with Hudson and all counsel

present in the same location. (See id., PageID.68.) Finally, Books-A-Million asked

the Court to extend the dates in the current scheduling order. (See id., PageID.69-

70.)




                                        1
Case 4:20-cv-13322-MFL-EAS ECF No. 13, PageID.137 Filed 11/23/21 Page 2 of 3




      The Court held an off-the-record video status conference with counsel to

discuss the motion on November 19, 2021. Based on the Court’s discussion with

counsel, Books-A-Million’s motion is resolved as follows:

          During the status conference, counsel reported to the Court that they

            had resolved the first component of Books-A-Million’s motion (i.e.,

            Books-A-Million’s request for outstanding discovery).            This

            component of Books-A-Million’s motion is therefore TERMINATED

            AS MOOT.

          With respect to the second component of Books-A-Million’s motion,

            Hudson’s deposition shall be taken via Zoom. During the deposition,

            Hudson and his counsel shall be located in different rooms. If Books-

            A-Million’s counsel is able to connect to the Zoom deposition via WiFi

            or other means, counsel may conduct the deposition from a separate

            room in the same building as Hudson and his counsel. If Books-A-

            Million’s counsel is unable to connect to the Zoom deposition by WiFi

            or other means from the same building as Hudson and his counsel,

            Books-A-Million’s counsel shall conduct the deposition from a

            different physical location.




                                           2
Case 4:20-cv-13322-MFL-EAS ECF No. 13, PageID.138 Filed 11/23/21 Page 3 of 3




          Finally, counsel shall submit a new stipulated scheduling order

            extending the dates in the current scheduling order as discussed during

            the status conference.

      IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE

Dated: November 23, 2021

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on November 23, 2021, by electronic means
and/or ordinary mail.

                                      s/Holly A. Monda
                                      Case Manager
                                      (810) 341-9764




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